  Case: 1:15-cv-05781 Document #: 292 Filed: 12/27/17 Page 1 of 2 PageID #:11778



                             UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

FEDERAL TRADE COMMISSION,
STATE OF FLORIDA,OFFICE OF THE
ATTORNEY GENERAL,DEPARTMENT
OF LEGAL AFFAIRS,                                       Case No. 15-cv-5781

                     Plaintiffs,
                                                        Judge Gary Feinerman


 LIFEWATCH INC., a New York corporation,
also d/b/a LIFEWATCH USA and MEDICAL
ALARM SYSTEMS,

SAFE HOME SECURITY,INC., a
Connecticut corparation,

MEDGUAR.D ALERT,INC., a Connecticut
corporation,

EVAN SIRLIN,individually and as an officer
or manager of Lifewatch Inc.,

MITCHEL MAY,individually and as an officer or
manager of Lifewatch Inc., and

DAVID ROMAN,individually and as an officer
or manager of Lifewatch Inc., Safe Home Security,
Inc., and MedGuard Alert, Inc.
                     Defendants.


               DEFENDANTS' MOTION FOR SUMMARY JUDGMENT

       Defendants David Roman, Safe Home Security, Inc., and Med Guard Alert, Inc., by their

attorneys, Swanson, Martin and Bell, LLP, move this Court for entry of an Order granting

Defendants summary judgment on all counts, and in support thereof submits their Memorandum

of Law in Support of their Motion for Summary Judgment and their Rule 56.1(a) Statement of

Undisputed Facts.
  Case: 1:15-cv-05781 Document #: 292 Filed: 12/27/17 Page 2 of 2 PageID #:11779



        WHEREFORE, Defendants David Roman, Safe Home Security, Inc., and Med Guard

 Alert, Inc., respectfully request that this Court grant their motion for summary judgment against

 Plaintiffs, the Federal Trade Commission and State of Florida, and for such other relief as this

 Court deems just and proper.


                                                    Respectfully submitted,



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